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11                                UNITED STATES DISTRICT COURT

12                               NORTHERN DISTRICT OF CALIFORNIA

13                                   SAN FRANCISCO DIVISION
14
      UNITED STATES OF AMERICA,                        Case No. 3:20-cr-00337-WHO
15
                    Plaintiff,                         [PROPOSED] ORDER
16
             v.
17
      JOSEPH SULLIVAN,
18
                    Defendant.
19
20
                                        PROPOSED ORDER
21
            The Court, having considered the defendant’s Unopposed Motion For Pretrial Return
22
     Date For Subpoena Duces Tecum to Uber Technologies, Inc. and the supporting declaration,
23
     hereby GRANTS the motion and ORDERS that the subpoena attached as Exhibit 1 to the
24
25   ////
26   ////
27
     ////
28



     MOT. AND [PROPOSED] ORDER
     3:20-cr-00337-WHO                            1
             Case 3:20-cr-00337-WHO Document 116 Filed 05/18/22 Page 2 of 2


     Declaration of Michelle Holman Kerin, may issue to Uber Technologies, Inc.
 1
     IT IS SO ORDERED.
 2
            DATED: May 18, 2022
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4
 5                                                     WILLIAM H. ORRICK
                                                       UNITED STATES DISTRICT JUDGE
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     MOT. AND [PROPOSED] ORDER
     3:20-cr-00337-WHO                             2
